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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION

ACKERMAN MCQUEEN, INC.,                      §
                                             §
v.                                           §          Case No. 3:19-cv-03016-X
                                             §
GRANT STINCHFIELD                            §

            BRIEF IN SUPPORT OF PLAINTIFF’S MOTION TO COMPEL


        Plaintiff, Ackerman McQueen, Inc. (“AMc”), files this Brief in Support of its Motion

to Compel (the “Motion”) (doc. 21).

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                                                    FACTS

A.         Background.

           1.      AMc is a public relations and marketing company who, for nearly 40 years,

provided public relations, crisis management, marketing, event, and media services for

the National Rifle Association of America (“NRA”). Compl. (doc. 1) at ¶9. Grant

Stinchfield (“Stinchfield”) is a former employee of AMc who hosted an online current

events program on the NRA’s digital media platform, NRATV. Compl. at ¶5.

           2.      AMc has sued Stinchfield for defamation and business disparagement

arising out a written statement that Defendant signed and disseminated to the press that

contains false allegations regarding AMc. Compl. at ¶¶40-56; see also Appendix at App.

6-8, 32, 38. The statement was ostensibly prepared by the NRA’s counsel as an affidavit

to be filed in connection with related litigation the NRA filed against AMc in the Northern

District of Texas (the “NRA Action”),1 but the so-called affidavit2 was never filed with

any court or other tribunal. Compl. at ¶20. Instead, AMc has alleged that the affidavit

was created for the sole purpose of being sent directly to the media in order to inflict

reputational damage on AMc. Id.




1   NRA v. AMc, et al., No. 3:19-cv-02074-G (N.D. Tex.) (filed Aug. 30, 2019).
2The so-called affidavit does not contain a jurat at the end. An affidavit without a jurat is not an “affidavit”
under Texas law. Stokes & Spiehler Onshore, Inc. v. Ogle (In re Wave Energy, Inc.), 467 Fed. Appx. 248, 250-51
(5th Cir. 2012).


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          3.     Indeed, since beginning a parade of lawsuits against AMc, the NRA has

been engaged in a non-stop smear campaign against AMc in the media,3 led by its

counsel, William A. Brewer III (“Brewer”) and Brewer Attorney & Counselors (the

“Brewer Firm”)—a law firm that touts its use of the media to intentionally sway the

“court of public opinion” in its clients’ favor.4 Compl. at ¶¶ 19, 35-39.

          4.     The Brewer Firm employs an entire division of non-attorney employees

who handle public-relations matters, crisis management, and political strategy.5 Compl.

at ¶¶ 35-39. The Managing Director of this “Public Affairs” group, Travis Carter,6 sent

the document directly to members of the press, including a reporter with The Daily Beast

and another reporter at Newsweek.7 The next day, The Daily Beast ran an article under the

headline “NRATV Wanted to Become a 24/7 Newsroom Using NRA Funds: Ex-Host,”

which included numerous quotes that came directly from Stinchfield’s written

statement.8 Compl. at ¶36. Newsweek ran a similar story the same day that quoted directly



3See, e.g., NRA Action, Doc. 79, Ex. A (Brief in Support of Def.’s Mot. to Disqualify Pl.’s Counsel) at ¶¶ 58-
59 and App’x A (outlining numerous media statements against AMc).
4See Mark Donald, Rambo Justice, DALLAS OBSERVER (Mar. 19 1998), available at https://www.
dallasobserver.com/news/rambo-justice-6402157.
5See Public Affairs, BREWER ATTORNEYS & COUNSELORS, https://www.brewerattorneys.com/the-art-of-
advocacy
6   See Our People, BREWER ATTORNEYS & COUNSELORS, http://brewerattorneys.com/team-1.
7See documents produced by Stinchfield as GRANT0046 and GRANT0048, included in the Appendix at
App. 32 and 33-38.
8See Julia Arciga, NRATV Wanted to Become a Real Newsroom Using NRA Funds Says Ex-Host Grant Stinchfield,
DAILY BEAST (Dec. 18, 2019), available at https://www.thedailybeast.com/nratv-wanted-to-become-a-real-
newsroom-using-nra-funds-says-ex-host-grant-stinchfield.



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from Stinchfield’s written statement.9 Id. Thus, it appears that Stinchfield’s written

statement was not executed in a good faith as a legal document to be filed with a court,

but as a mechanism for feeding false information to the press cloaked with the

appearance of legitimacy as a legal document that had been filed with a court.

B.      AMc’s Discovery Requests.

        5.         On January 10, 2020, AMc served its First Set of Interrogatories and First

Request for Production on Stinchfield. The discovery requests primarily focused on

Stinchfield’s and the Brewer Firm’s creation and public dissemination of Stinchfield’s

written statement, as well as Stinchfield’s net worth. On February 10, 2020, Stinchfield

served his responses to AMc’s discovery requests (“Defendant’s Response”), a true and

correct copy of which is included in the Appendix at App. 9-13.

        6.         This dispute concerns the following discovery requests:

              i.      Interrogatory No. 11 – This interrogatory asks Stinchfield to identify all

                      persons to whom he or his counsel disseminated Stinchfield’s written

                      statement. Appendix at App. 17. Stinchfield has indicated that he

                      intends to amend his response and answer this interrogatory, but has

                      not done so yet.




9See Ashton Stockler, NRATV Creator Threatens “Legal Action” Against Former Host Over “Fabrications,”
Newsweek (December 18, 2019), available at https://www.newsweek.com/nratv-ackerman-mcqueen-nra-
guns-1477939.



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             ii.   Request for Production (“RFP”) No. 2 – This request seeks all drafts

                   and prior versions of the Stinchfield’s written statement. Appendix at

                   App. 20. The identification number on the bottom of Stinchfield’s

                   statement indicates that it is the eighth version of the so-called affidavit.

                   See Appendix at pp. 6-8 (displaying document number “482306952-0046,

                   v. 8”).

            iii.   RFP No. 3 – This request seeks all communication between Stinchfield

                   and any member of the Brewer Firm that occurred prior to Stinchfield’s

                   retention of the Brewer Firm and/or the Brewer Storefront as counsel.10

                   Appendix at App. 21.

            iv.    RFP No. 4 - This request seeks production of communications between

                   Stinchfield and any non-attorney employee in the Brewer Firm’s public-

                   relations group. Id.

             v.    RFP Nos. 17-19 – These requests seek information related to

                   Stinchfield’s net worth, including tax returns, checking, savings, and

                   brokerage account statements, and personal financial statements.

                   Appendix at App. 26-27. AMc is seeking exemplary damages in this

                   case. Compl. at ¶58.c.


10Defendant’s answer was signed by William A. Brewer III on behalf of the Brewer Firm. Since then,
Defendant’s pleadings, discovery requests, discovery responses, etc. have been signed by Ian Shaw on
behalf of Brewer Storefront, PLLC, the self-professed pro bono arm of the Brewer Firm.



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Because Stinchfield’s objections to these discovery requests are improper, the Court

should overrule them and compel Stinchfield to properly respond to each of the requests.

                          ARGUMENT AND AUTHORITIES

        7.    Discovery may be obtained about any matter that is not privileged, relevant

to any party’s claims or defenses, and proportional to the needs of the case. Fed. R. Civ.

P. 26(b)(1). Furthermore, “[u]nless it is clear that the information sought can have no

possible bearing on the claim or defense of a party, the request for discovery should be

allowed.” Merrill v. Waffle House, Inc., 227 F.R.D. 467, 470 (N.D. Tex. 2005). As will be

discussed more fully below, each of the disputed discovery requests seeks information

that is relevant and proportional to the needs of the case. Thus, Stinchfield should be

ordered to respond. Stinchfield’s objections lack merit and should all be overruled.

A.      The Court should overrule Stinchfield’s objections based on relevance and
        burdensomeness.

        8.    With regard to Interrogatory No. 11 and RFP Nos. 2-4 and 17-19, Stinchfield

has objected that each of these requests is unduly burdensome and overly broad. These

objections should be overruled.

        9.    “A party resisting discovery must show how the requested discovery was

overly broad, burdensome, or oppressive by submitting affidavits or offering evidence

revealing the nature of the burden.” McKinney/Pearl Rest. Partners, L.P. v. Metro. Life Ins.

Co., 322 F.R.D. 235, 242 (N.D. Tex. 2016) (internal citation omitted); see also McLeod,

Alexander, Powel & Apffel, P.C. v. Quarles, 894 F.2d 1482, 1485 (5th Cir. 1990). Furthermore,


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“a party served with written discovery must fully answer each interrogatory or document

request to the full extent that it is not objectionable and affirmatively explain what portion

of an interrogatory or document request is objectionable and the subject of the answer or

response, and affirmatively explain whether any responsive information or documents

have been withheld.” Heller v. City of Dallas, 303 F.R.D. 466, 485 (N.D. Tex. 2014). The

2015 changes to Rule 34 are consistent with Heller’s holding, requiring that an objection

asserted in response to a request for production “must state whether any responsive

materials are being withheld on the basis of that objection.” See Fed. R. Civ. P. 34(b)(2)(C).

       10.    Stinchfield cannot meet his burden to show that any the disputed requests

are overly broad, burdensome, or oppressive. Furthermore, he has failed to comply with

Rule 34 by failing to indicate what responsive materials, if any, are being withheld on the

basis of his objections. Thus, his objections should be overruled.

       11.    Interrogatory No. 11 – This interrogatory asks Stinchfield to identify all

persons to whom he or his counsel disseminated Stinchfield’s written statement.

Stinchfield has objected to this interrogatory as “unduly broad and overly burdensome

since it requires identification of ‘all documents,’” which is nonsensical on its face—the

interrogatory does not even ask for identification of documents. Thus, the objection

should be overruled.

       12.    RFP No. 2 – This request seeks all drafts and prior versions of Stinchfield’s

written statement. The identification number on the bottom of the document indicates



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that it is the eighth version of the so-called affidavit. See Appendix at App. 8 (displaying

document number “482306952-0046, v. 8”). This request calls for the production of

versions one through seven.

       13.    Stinchfield objects that the request is “unduly broad and overly

burdensome since it requires production of ‘all documents,’” which similarly makes no

sense in this context. Producing seven documents is not unduly burdensome. The drafts

of the written statement, coupled with the communications requested in RFP Nos. 3 and

4 discussed below, will enable AMc to test Stinchfield’s perception and credibility, as they

will show what changes were made in the seven prior iterations of the written statement,

why, and at whose request. Thus, they are relevant and ought to be produced.

       14.    RFP No. 3 – This request seeks all communication between Stinchfield and

any member of the Brewer Firm that occurred prior to his retention of the Brewer Firm as

counsel, which, according to Stinchfield’s own admission, did not occur until sometime

on or after January 2, 2020. See Appendix at App. 4-5. Defendant again lodges his

boilerplate objection: “unduly broad and overly burdensome since it requires production

of ‘all documents.’” Stinchfield signed the written statement on or about December 10,

2019. Presumably there were some communications that took place before then given

that it is the eighth version of the written statement. It seems unlikely that the volume of

communications could have possibly risen to the level of being “unduly burdensome” to

produce in only a few weeks.



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       15.    RFP No. 4 – This request seeks all documents and communications between

Stinchfield and any member of the public-relations division at the Brewer Firm regarding

Stinchfield’s written statement. Once again, Stinchfield objects that the request is overly

broad and burdensome. The written statement is plainly at issue in this action and,

therefore, the request is not overly broad. With regard to the alleged burdensomeness of

the request, it is unlikely that the number of documents and communications he

exchanged with the public-relations division at the Brewer Firm could reach the requisite

amount to constitute an undue burden in such a short time.

       16.    RFP Nos. 17-19 – These requests seek information related to Stinchfield’s

personal net worth, including tax returns, bank accounts, and financial statements.

Stinchfield objects that this request is “unduly burdensome and overbroad” due to his

assertion that this information is irrelevant. AMc is seeking exemplary damages in this

case, making Stinchfield’s financial condition and net worth relevant. See Hanan v. Crete

Carrier Corp., No. 3:19-cv-149-B, 2019 U.S. Dist. LEXIS 193409, at *22 (N.D. Tex. Nov. 6,

2019) (permitting discovery concerning net worth as being relevant and proportional to

the needs of the case given the plaintiff’s claim for exemplary damages); Curlee v. United

Parcel Serv., Inc. (Ohio), No. 3:13-cv-344-P, 2014 U.S. Dist. LEXIS 121536, 2014 WL 4262036,

at *2 (N.D. Tex. Aug. 29, 2014) (“A defendant's net worth is relevant in a suit involving

exemplary damages.”). Thus, the request is not overly broad.




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       17.    Accordingly, AMc respectfully requests the Court to overrule Stinchfield’s

objections based on the alleged overbreadth and burdensomeness of AMc’s requests and

to compel Stinchfield to provide all of the requested information and documents.

B.     The Court Should Overrule Stinchfield’s Objections Under the Attorney-
       Client Privilege and Work Product Doctrine.

       18.    Stinchfield has also asserted that certain documents and information are

shielded from discovery under the attorney-client privilege and work-product doctrine.

AMc asks the Court to overrule these objections or, in the alternative, compel Stinchfield

to produce a privilege log and submit the disputed documents for an in camera inspection

so the Court may properly adjudicate Stinchfield’s assertions of privilege.

       i.     Scope of the attorney-client privilege and work product doctrine.

       19.    The attorney-client privilege protects from disclosure communications

from the client to the attorney made in confidence for the purpose of obtaining legal

advice. EEOC v. BDO USA, LLP, 876 F.3d 690, 695 (5th Cir. 2017); Harding v. Cty. of Dallas,

No. 3:15-CV-0131-D, 2016 U.S. Dist. LEXIS 177937, at *26 (N.D. Tex. Dec. 23, 2016). But,

the privilege does not protect documents and other communications simply because one

party is an attorney. See Navigant Consulting, Inc. v. Wilkinson, 220 F.R.D. 467, 473 (N.D.

Tex. 2004). Rather, the person to whom the communication is made must be a member

of the bar or his subordinate, and must be acting as a lawyer in connection with the

communication at issue. See United States v. Kelly, 569 F.2d 928, 938 (5th Cir. 1978); In re

Vioxx Prods. Liab. Litig., 501 F. Supp. 2d 789, 807 (E.D. La. 2007) (noting that when lawyers


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make comments about technology, science, public relations, or marketing, those

communications are not protected by the privilege unless the party demonstrates that

those comments are primarily related to legal assistance); see also Calvin Klein Trademark

Trust v. Wachner, 198 F.R.D. 53, 55 (S.D.N.Y. 2000) (“Nothing in the policy of the privilege

suggests that attorneys, simply by placing accountants, scientists, or investigators [or,

here, a public relations firm] on their payrolls . . . should be able to invest all

communications by clients to such persons with a privilege the law has not seen fit to

extend when the latter are operating under their own steam.”).

         20.   Furthermore, courts have held that witness statements and related

communications sent to an attorney by a third-party witness are not protected by the

attorney-client privilege, even when those third-party witnesses later became clients of

the attorney. See, e.g., Hudson v. General Dynamics Corp., 186 F.R.D. 271, 277 (D. Conn.

1999).    When communications with an attorney are exchanged prior to the formal

beginning of an attorney-client relationship, the attorney-client privilege cannot be

applied retroactively where the original communication was not made for the purpose of

seeking legal advice. Id. If the party asserting the privilege was not a client or seeking to

become a client, the attorney-client privilege does not apply. See id.; see also Blum v.

Spectrum Rest. Grp.-Emples. Grp. Life & Supplemental Life Plan, Nos. 4:02-CV-92, 4:02-CV-

98, 2003 U.S. Dist. LEXIS 2499, at *5 (E.D. Tex. Feb. 14, 2003) (holding that

communications with fact witness not protected by attorney-client privilege or work



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product doctrine).     In other instances, emails between a non-party witness and an

attorney were not protected by the attorney-client privilege because they did not contain

communications made to secure legal services. See, e.g., Booth v. Galveston Cty., No. 3:18-

CV-00104, 2018 U.S. Dist. LEXIS 181063, at *6–*9 (S.D. Tex. Oct. 10, 2018).

       21.    With regard to work-product, this doctrine generally applies only to

documents and tangible things that are prepared in anticipation of litigation or for trial.

See Fed. R. Civ. P. 26(b)(2)(A). The work-product doctrine affords protection to the

mental impressions, beliefs, opinions, and thoughts of an attorney acting on behalf of his

client. See United States v. Nobles, 422 U.S. 225, 237–38 (1975).

       22.    The work product doctrine does not apply to affidavits or written

statements by non-party witnesses, such as Stinchfield’s written statement. See, e.g., Blum,

2003 U.S. Dist. LEXIS 2499, at *6-*7; Walker v. George Koch Sons, Inc., No. 2:07cv274 KS-

MTP, 2008 U.S. Dist. LEXIS 81919, at *17-*19 (S.D. Miss. Sept. 18, 2008) (“The fact that

counsel for the plaintiffs drafted the Affidavits (as is generally the case for affidavits

prepared for litigation) does not make them attorney work product immune from

disclosure.”); Gilmore v. Stalder, 2008 U.S. Dist. LEXIS 39822, 2008 WL 2097162, at *4 (W.D.

La. May 16, 2008) (rejecting work product privilege for affidavits containing no attorney

impressions but merely stating facts); Tuttle v. Tyco Elecs. Installation Servs., 2007 U.S. Dist.

LEXIS 95527, 2007 WL 4561530, at *2 (S.D. Ohio Dec. 21, 2007) (“[a]ffidavits are normally

not protected by the work product doctrine”); Young v. California, 2007 U.S. Dist. LEXIS



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97485, 2007 WL 2900539, at *1 (S.D. Cal. Oct. 1, 2007) (refusing to apply work-product

protection to witness questionnaires); Schipp v. Gen'l Motors Corp., 457 F.Supp. 2d 917, 924

(E.D. Ark. 2006) (holding that “non-party witness statements are neither privileged nor

work product and must be produced”); Infosystems, Inc. v. Ceridian Corp., 197 F.R.D. 303,

306-07 (E.D. Mich. Nov. 17 2000) (rejecting assertion of work product and noting that an

affidavit is supposed to be “a statement of facts within the personal knowledge of the

witness, and not an expression of the opinion of counsel.”).

       23.    Drafts of written statements and related communications do not fall within

the protections of the work product doctrine either. In permitting disclosure of draft

affidavits and accompanying communications between counsel and non-party witnesses,

one court noted:

       Granted, [the plaintiff] secured these statements [of third-party witnesses]
       in anticipation of litigation. However, if it now suggests that it may
       interpose the work product doctrine because it then put words in the
       mouths of these third-party affiants as part of its litigation strategy, it
       misperceives the nature of the doctrine. [The defendant] seeks no more
       than factual statements of these non-party witnesses. It should not be
       frustrated in its ability to test the perception and credibility of these
       persons.

Infosystems, Inc., 197 F.R.D. at 306-07 (quoting Milwaukee Concrete Studios, Ltd. v. Greeley

Ornamental Concrete Prods., Inc., 140 F.R.D. 373 (E.D. Wis. 1991)); see also EEOC v. Jamal &

Kamal, Inc., No. 05-2667, 2006 U.S. Dist. LEXIS 66294, at *10 (E.D. La. Sep. 18, 2006)

(compelling production of draft affidavit of non-party witness).




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       ii.    Legal standard for asserting privilege.

       24.    In addition, even where a privilege applies, “[a] blanket assertion of

privilege is unacceptable; the party asserting a privilege should prepare a privilege log

that provides the requesting party with enough information to test the merits of the

privilege claim.” Weatherly v. Pershing LLC, No. 3:14-CV-366-N-BG, 2015 U.S. Dist. LEXIS

187422, at *8-9 (N.D. Tex. Oct. 16, 2015) (citations omitted); see also United States v. El Paso

Co., 682 F.2d 530, 539 (5th Cir. 1982). This well-settled proposition is based on the express

requirements of Rule 26, which mandates that a party withholding information on the

basis of a privilege must “expressly make the claim[] and describe the nature of the

documents, communications, or tangible things not produced or disclosed.” Fed. R. Civ.

P. 26(b)(5)(A).

       25.    The party asserting privilege “bears the burden of demonstrating its

applicability.” In re Santa Fe Int'l Corp., 272 F.3d 705, 710 (5th Cir. 2001). Thus, “to support

[] assertions of work-product protection or attorney-client privilege [and] withholding

certain documents or ESI from production, Plaintiff must describe the withheld

information, documents, or ESI by submitting to Defendant’s counsel a ‘privilege log’

that complies with Federal Rule of Civil Procedure 26(b)(5)(A).” Areizaga v. ADW Corp.,

314 F.R.D. 428, 439-40 (N.D. Tex. 2016). The purpose of the privilege log is “to enable

opposing parties and the court to determine whether each element of the asserted

privilege is satisfied.” Weatherly, 2015 U.S. Dist. LEXIS 187422, at *9 (citations omitted).



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Thus, a privilege log should include “the document’s date of creation, author, title or

caption, addressee and each recipient, and general purpose for creation, as well as the

particular privilege relied upon” to generally satisfy Rule 26. Id.

       26.    Of course, in instances where a party refuses to produce documents under

a claim of privilege, and where the privilege log is insufficient to determine whether the

documents are privileged or not, then the court is within its discretion to conduct an in

camera inspection of the documents to adjudicate privilege. See United States v. Zolin, 491

U.S. 554, 568–69 (1989); Cole v. Collier, No. 4:14-CV-1698, 2020 U.S. Dist. LEXIS 94320, at

*12 (S.D. Tex. May 28, 2020); Lafleur v. Bankers Life & Cas. Co., No. 1:10-CV-614-TH, 2012

U.S. Dist. LEXIS 204446, at *5 (E.D. Tex. Jan. 19, 2012).

       iii.   Stinchfield’s assertions of privilege are improper.

       27.    Stinchfield improperly claims that the information responsive to RFP Nos.

2-4 is protected by the attorney-client privilege and work-product doctrine. RFP No. 2

seeks production of all drafts of Stinchfield’s written statement. Neither the work

product doctrine nor the attorney-client privilege applies.

       28.    Stinchfield’s so-called affidavit is no different than any other witness

statement or questionnaire that purports to set out the underlying facts of the lawsuit. It

should therefore be devoid of any legal strategy or attorney mental impressions that

would otherwise be protected by the work-product privilege. See Walker, 2008 U.S. Dist.

LEXIS 81919, at *17-19; Infosystems, Inc., 197 F.R.D. at 306-07. The attorney-client privilege



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does not apply because Stinchfield’s written statement was not a confidential

communication with an attorney for the purpose of securing legal advice. Moreover, this

document was created and executed before an attorney-client relationship began

between Stinchfield and his current counsel, further precluding application of the

attorney-client privilege per the cases cited above.

           29.     RFP No. 3 seeks production of all communications between Stinchfield and

the Brewer Firm concerning Stinchfield’s written statement that pre-date Stinchfield’s

retention of the Brewer Firm or the Brewer Storefront as his counsel in this action.

Stinchfield executed his so-called affidavit on December 10, 2019. AMc filed suit against

Defendant on December 20, 2019, which is presumably the first date that Stinchfield

became aware that he even needed representation.11 Yet even as of January 2, 2020,

Stinchfield firmly maintained that he had not yet hired a lawyer and wanted to try to

resolve matters himself. See Appendix at App. 4-5. Accordingly, any communications

that occurred prior to the date Stinchfield approached the Brewer Firm about

representing him in this matter were simply the Brewer Firm’s communications with a

third-party witness – communications that are not afforded protection under the

attorney-client privilege. See Blum, 2003 U.S. Dist. LEXIS 2499, at *5.

           30.     Likewise, these communications should not protected by the work-product

doctrine because they theoretically should relate solely to the underlying facts stated in


11   See Doc. 1, Pl.’s Original Compl.



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Stinchfield’s affidavit, and any attempt by counsel to “put words in the mouth” of

Stinchfield would not be protected by the work-product privilege. See Infosystems, 197

F.R.D. at 306-07; see also Walker, 2008 U.S. Dist. LEXIS 81919, at *17-19. AMc is thus

entitled to theses communications.

       31.    RFP No. 4 seeks production of communications between Stinchfield and

any non-attorney employee in the Brewer Firm’s public-relations group.                    These

communications are highly relevant. As Stinchfield’s written statement was provided to

the media soon after its execution, exchanges between Stinchfield and the public-relations

group are likely to reveal the level of knowledge and intent that both Stinchfield and his

counsel had regarding the intended use of the written statement and the manner and

method in which it would be disseminated publicly. These communications are not

protected by the attorney-client privilege because, as the Public Affairs group employs

only non-lawyers who are not subordinates of any lawyers in a legal capacity (as

distinguished from, say, legal assistants or paralegals), these individuals are not involved

with the provision of legal services, and therefore, any communications could not

possibly be for the purpose of obtaining or providing legal advice. See Kelly, 569 F.2d at

938; In re Vioxx Prods. Liab. Litig., 501 F. Supp. 2d at 807; Calvin Klein, 198 F.R.D. at 55.

       32.    These communications with non-lawyer public-relations employees are not

protected by the work-product doctrine for the same reason.                 These non-lawyer

employees simply do not—and cannot—engage in the type of legal strategy and other



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attorney mental processes that fall within this privilege. See Nobles, 422 U.S. at 237–38.

Furthermore, the services they provided in this particular instance – assisting Stinchfield

in disseminating a defamatory press release under the guise of a court document – were

ordinary public relations services unrelated to any attorney’s mental process. Calvin

Klein, 198 F.R.D. at 54-55 (PR firm’s making calls to various media to comment on

developments in the litigation and “finding friendly reporters” were ordinary public

relations advice not protected by attorney-client privilege or work product doctrine, even

if also helpful to attorney in formulating legal strategy); see also Fed. R. Civ. P. 26(b)(2)(A).

       iv.    Alternative request to compel privilege log and in camera review.

       33.    Stinchfield might attempt to create a revisionist history of the time period

before, during, and after the execution of his written statement by arguing, for example,

that he anticipated that he would be sued by AMc as a result of the statement and that he

began seeking legal advice from the Brewer Firm from day one. In the event Stinchfield

makes such an argument in response to this Motion, AMc alternatively asks that the

Court compel Stinchfield to produce a privilege log for all documents for which he claims

a privilege. AMc further asks that the Court order an in camera inspection of these

documents and communications so the merits of Stinchfield’s privilege claims may be

fairly adjudicated.




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                                        PRAYER

       For the foregoing reasons, AMc respectfully asks this Court to grant its Motion;

overrule Stinchfield’s objections and compel Stinchfield to answer Interrogatory No. 11

and produce all documents responsive to Requests for Production Nos. 2-4 and 17-19;

and grant AMc any further relief, at law or in equity, to which it may be justly entitled.

       Dated: September 22, 2020.

                                          Respectfully submitted,

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                              CERTIFICATE OF SERVICE

       I hereby certify that on September 22, 2020, I filed the foregoing document with

the clerk of court for the U.S. District Court, Northern District of Texas. I hereby certify

that I have served the document on all counsel and/or pro se parties of record by a manner

authorized by Federal Rules of Civil Procedure 5(b)(2).



                                                 /s/ Brian Vanderwoude
                                                 J. Brian Vanderwoude




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